      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 1 of 12




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS LIABILITY        MDL NO. 2741
LITIGATION
___________________________________      Case No. 3:16-md-02741-VC
THIS DOCUMENT RELATES TO:
                                         DECLARATION OF ELIZABETH J.
                                         CABRASER IN SUPPORT OF MOTION
                                         FOR PRELIMINARY APPROVAL OF
                                         CLASS SETTLEMENT,
Ramirez, et al. v. Monsanto Co.,         APPOINTMENT OF INTERIM CLASS
                                         AND SUBCLASS COUNSEL,
Case No. 3:19-cv-02224                   DIRECTION OF NOTICE UNDER
                                         FED. R. CIV P. 23(e), SCHEDULING OF
                                         A FAIRNESS HEARING, AND STAY
                                         OF THE FILING AND PROSECUTION
                                         OF ROUNDUP-RELATED ACTIONS
                                         BY SETTLEMENT CLASS MEMBERS




                                            DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                                      MOTION FOR PRELIMINARY APPROVAL
                                                       MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 2 of 12



       I, Elizabeth J. Cabraser, declare as follows:

       1.            I am a partner at Lieff, Cabraser, Heimann & Bernstein, LLP (“Lieff

Cabraser”). I am a member in good standing of the Bars of the State of California and the

Northern District of California. I respectfully submit this declaration in support of the Motion

for Preliminary Approval of Class Settlement, Appointment of Interim Class and Subclass

Counsel, Direction of Notice Under Fed. R. Civ. P. 23(e), Scheduling of a Fairness Hearing, and

Stay of the Filing and Prosecution of Roundup-Related Actions by Settlement Class Members.

Except as otherwise noted, I have personal knowledge of the facts set forth herein, and could

testify competently to them if called upon to do so.

       2.            The Settlement Agreement is attached hereto as Exhibit A.

                                    Settlement Negotiations
       3.            The original Class Action Complaint in this action was filed by Robert

Ramirez on April 24, 2019. The Ramirez Complaint sought, inter alia, a single determination,

under Rules 23(b)(2) and 23(c)(4), of the question of general causation. Defendant filed its

Answer to the Ramirez Complaint on July 24, 2019. In late July 2019, after the Court appointed

Kenneth R. Feinberg as mediator, settlement discussions began in earnest under his supervision.

Those discussions continued between proposed Class and Subclass Counsel and Monsanto for

nearly a full year, in person during the fall and winter of 2019, and then remotely once the

COVID-19 pandemic began. Beginning in January 2020, meetings occurred on a virtually daily

basis, nights and weekends not excepted. Negotiations were intense and included the exchange

of dozens and dozens of drafts of settlement documents and memoranda, regular status reports to

the mediator, and direct input on Settlement terms from the expert vendors proposed to

administer the programs.

       4.            While the content of the negotiations is confidential, the integrity and arms-

length nature of the process was ensured, and can be attested to, by the mediator. Settlements of

this magnitude, providing programmatic benefits this innovative and comprehensive, are never

easy, and the parties have been at many times far apart and often at odds. Each side threatened


                                                         DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                               -1-                 MOTION FOR PRELIMINARY APPROVAL
                                                                    MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 3 of 12



to walk away at multiple points, and the mediator’s direct resolution of disputes was required, at

times, to prevent the discussions from collapsing altogether. Nonetheless, agreement on the

essential terms of a class settlement that is designed to solve the overarching question of this

litigation, general causation, in a way that benefits as well as binds the class of those left out of

the settlement of the individual cases making up this MDL, was ultimately reached after nearly

one year of unrelenting efforts.

        5.            The parties did not engage in substantive negotiation about or reach any

agreement on attorneys’ fees, reimbursement of expenses, or class representative service awards

(all of which will be subject to future application to the court) until they had resolved all

essential terms of the relief available to the Class.

                    The Proposed Settlement Class/Subclass Representation
        6.            At all times during the necessary stages of the negotiations, the Subclasses

were also represented by the proposed Representatives for each Subclass, whose claims are

typical of the Subclasses they seek to represent, and proposed Subclass Counsel (William Audet

for Subclass One and TerriAnne Benedetto for Subclass Two).

        7.            Plaintiff Robert Ramirez is a resident of California. While working for

Roto-Rooter in Salinas, California from 1999 to 2013, Ramirez utilized a concentrated mix of

Roundup in the maintenance yard. He was diagnosed with Double Expressor Large B-Cell Non-

Hodgkin’s Lymphoma in 2018 at the Salinas Valley Memorial Hospital in Salinas, and

underwent chemotherapy treatment at Stanford University Hospital. He is a proposed

Representative of the Class and Subclass One.

        8.            Plaintiff Jerry Agtarap is a resident of California. He used Roundup daily
for more than 20 years in his job as a certified landscaper. He has not been diagnosed with NHL.

        9.            Plaintiff Dexter Owens is a resident of California. He worked for the Fresno

Unified School District in Fresno, California, where he sprayed Roundup around the school

grounds for many years. In 2017, after a month of spraying Roundup, he developed a rash on his




                                                           DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                                 -2-                 MOTION FOR PRELIMINARY APPROVAL
                                                                      MDL NO. 2741, CASE NO. 3:16-MD-02741
       Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 4 of 12



left hand, for which he sought treatment and was prescribed an ointment. He has not been

diagnosed with NHL.

        10.         Plaintiff John Elko is a resident of South Carolina. Between March 2004

and May 2014, while working as an assistant superintendent of groundskeeping at Possum Trot

Golf Club, Elko mixed and sprayed Roundup on a daily basis. He has not been diagnosed with

NHL.

        11.         Plaintiffs Agtarap, Owens, and Elko are the proposed Representatives of the

Class and Subclass Two.

        12.         The proposed Class and Subclass Representatives regularly communicated

with their attorneys regarding the case overall and the allegations in the complaint. Each

reviewed and approved the Amended Class Action Complaint. Each was also consulted on the

terms of the Settlement Agreement before it was signed, approves its terms, and supports its

approval by the Court. Each has expressed continued willingness to protect the Class until the

Settlement is approved and its administration completed.

                  Selection of Claims Administrator, DAGP Administrator,
                             and Settlement Class Notice Agents
        13.         Class Counsel selected Wolf Garretson, LLC to serve as proposed

Diagnostic Accessibility Grant Program (“DAGP”) Administrator based on Garretson’s

experience with the administration of complex litigation and settlement programs involving

medical-related relief. Such programs include the Deepwater Horizon, NFL Concussion, and

World Trade Center cases. Garretson’s qualifications are attached as Exhibit B.

        14.         Class Counsel selected Verus, LLC to serve as proposed Claims

Administrator based on their considerable experience with asbestos litigation and other high-

stakes, complex class litigation. Verus’ qualifications are attached as Exhibit C.

        15.         To select the proposed Settlement Class Notice Agents, Class Counsel

solicited proposals from four well-known and experienced notice vendors, and received detailed

and competitive bids from each vendor. After reviewing these proposals and engaging in



                                                         DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                              -3-                  MOTION FOR PRELIMINARY APPROVAL
                                                                    MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 5 of 12



multiple rounds of discussions with the providers, Class Counsel selected Kinsella Media and

Signal IM, whose proposals represented the most cost-effective, efficient, and comprehensive

plans, and the ones best fit for the unique Class. Kinsella’s qualifications, along with the notice

plan, are set out in the accompanying Declaration of Shannon Wheatman. Signal’s qualifications

and the work they have done thus far are set out in the accompanying Declaration of James

Messina.

                      Additional Work Performed on Behalf of the Class
        16.          In addition to negotiating the Settlement itself, Class Counsel worked over

many months closely with the DAGP and Claims Administrator, as well as the Settlement Class

Notice Agents, to design the Settlement programs to meet the needs of a unique Class.

        17.          The first step was to understand where Class Members—persons exposed to

Roundup—live and work. With the Claims Administrator, Class Counsel used demographic and

occupational data sourced from various government agencies. The result was reliable estimates

of the both the population of workers in agricultural and groundskeeping occupations, and the

distribution of that population throughout the United States.

        18.          The Claims Administrator refined these estimates using data on per capita

spending on gardening and landscaping products, as well as data acquired from Monsanto

regarding retail sales of Roundup. The results were visuals—“heat maps”—and tabulations of

occupational and residential populations, aggregated at the ZIP Code, County, core-based

statistical area (“CBSA”), and State levels.

        19.          The data were further refined using extracts from the USDA’s Agricultural

Census, which identified the specific geographic regions where Roundup is most commonly

used, and the National Agricultural Worker’s Survey, which yielded information on the countries

of origin of migrant farm labor entering the United States each year.

        20.          Class Counsel also worked to understand where Class Members diagnosed

or likely to be diagnosed with NHL are concentrated using datasets from the National Cancer

Institute.


                                                          DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                               -4-                  MOTION FOR PRELIMINARY APPROVAL
                                                                     MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 6 of 12



       21.          Having ascertained where Class Members live and work, the next step was

to talk to them. Class Counsel commissioned Settlement Class Notice Agent Signal IM to

conduct in-depth long-form interviews of migrant agricultural workers, non-migrant agricultural

workers, and landscapers. Signal also conducted a nationwide survey of individuals likely to fit

the Class definition who worked in the key industries most affected by professional Roundup

exposure: landscaping and groundskeeping, agriculture, and farm, ranch, or aquaculture animal

operations. These efforts yielded crucial insights on how to design the Class Notice Plan to alert

Class Members to the Settlement, and to enable them to participate in it; which Notice channels

to use to make Notice most effective; and which third-party organizations to target for the DAGP

outreach effort. All of this information was used in designing the Notice Plan and the Settlement

programs. Further details on this work are provided in the Declaration of James Messina.

       22.          Class Counsel also became well-versed in the science necessary both to

design the DAGP and frame the Science Panel inquiry. Class Counsel, working with the DAGP

Administrator, reviewed literature on the diagnostic criteria for NHL in order to understand the

clinical capability and capacity requirements necessary for DAGP grant recipients. And Class

Counsel retained and worked with consulting experts on questions of epidemiology and

toxicology to understand how to frame the questions posed to the Science Panel.

       23.          These efforts have only intensified with the filing for preliminary approval.

Class Counsel and the Administrators continue to work to identify additional data sources on

NHL incidence, as well as to design future field studies to make the DAGP and Interim

Assistance Grant programs maximally effective, and to develop a predictive model to forecast

the demand on the Settlement programs.

         Qualifications of Proposed Class Counsel Relevant to Fed. R. Civ. P. 23(g)
       24.          The following information is respectfully submitted in support of the

application for appointment as interim Settlement Class/Subclass Counsel under Rule 23(g)(3).

       25.          Lieff Cabraser is a law firm with offices in San Francisco, New York,

Nashville, and Munich, Germany. It is one of the oldest, largest, and most successful law firms


                                                         DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                              -5-                  MOTION FOR PRELIMINARY APPROVAL
                                                                    MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 7 of 12



in the country devoted exclusively to representing plaintiffs, particularly in class actions and

mass tort litigation. Our current practice focuses on complex and class action litigation

involving product liability, consumer, employment, financial, securities, environmental, and

personal injury matters. A summary version of Lieff Cabraser’s current firm resume, showing

some of the firm’s experience in complex and class action litigation,1 is attached as Exhibit D.

Lieff Cabraser’s experience in national class action litigation traces to the 1960s, with founding

partner and proposed Class Counsel Robert L. Lieff’s involvement in the Texas Gulf Sulphur

Litigation and other early financial fraud class actions. Lieff Cabraser’s utilization of the class

action mechanism to prosecute and resolve mass disaster, toxic exposure, environmental,

medical mass torts, personal injury, and other tort claims include the Neptune Society Cases and

the Sconce/Lamb Cases in California state court class actions in the 1980s; the federal national

class action settlements in In re Silicone Gel Breast Implants Litigation, MDL No. 926; the

international class action settlements in Holocaust Victims Assets (“Swiss Banks”) Litigation,

105 F. Supp. 2d 139 (E.D.N.Y. 2000); the medical monitoring/personal injury class certification

and settlement in In re Diet Drugs litigation, MDL No. 1203; the class certification and class

trial in In re the Exxon Valdez (D. Alaska) in 1994-95; the class certification, trial, and settlement

of In re Tri-State Crematory Litigation, MDL No. 1467, in 2005; and the economic and medical

class settlements in In re Deepwater Horizon, MDL No. 2017, in 2012.

       26.           In this District, Lieff Cabraser has been appointed to numerous leadership

roles in high-profile, complex litigation and has guided many of these cases to successful

resolution. A few illustrative examples, from the past ten years, include:

               a.      In re Volkswagen ‘Clean Diesel’ Marketing, Sales Practices, and
Products Liability Litigation, MDL No. 2672 (N.D. Cal.) (Ms. Cabraser serves as Lead Class
Counsel/Chair of Plaintiffs’ Steering Committee in litigation yielding four substantial consumer
settlements valued at $10.033 billion (2-liter settlement), $1.2 billion (3-liter settlement), $327.5
million (Bosch settlement), and $96.5 million (gasoline vehicle fuel economy settlement)).



1
 The firm’s full resume can be found online at
https://www.lieffcabraser.com/pdf/Lieff_Cabraser_Firm_Resume.pdf.


                                                           DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                                -6-                  MOTION FOR PRELIMINARY APPROVAL
                                                                      MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 8 of 12



             b.      Fiat Chrysler Dodge Jeep Ecodiesel Litigation, MDL No. 2777, 17-MD-
02777-EMC (N.D. Cal.) (Ms. Cabraser serves as Lead Class Counsel/Chair of Plaintiffs’
Steering Committee in litigation securing $375 million for consumer class);

              c.     In re Bextra/Celebrex Marketing, Sales Practices and Product Liability
Litigation, MDL No. 1699 (N.D. Cal.) (Lead Counsel in MDL yielding over $800 million in tort
and consumer settlements).

              d.    In re TFT-LCD (Flat Panel) Antitrust Litigation, MDL No. 1827 (N.D.
Cal.) (Co-Lead Counsel in litigation yielding $470 million settlement);

              e.     In re High-Tech Employee Antitrust Litigation, No. 11 CV 2509 (N.D.
Cal.) (Co-Lead Class Counsel in case securing settlements totaling $435 million);

             f.      In re Wells Fargo & Company Shareholder Derivative Litigation, No.
3:16-cv-05541 (N.D. Cal.) (Co-Lead Counsel in $240 million derivative settlement);

               g.     In re JUUL Labs, Inc. Marketing, Sales Practices, and Products Liability
Litigation, Case No. 19-md-02913-WHO, MDL No. 2913 (N.D. Cal.).(Co-Lead Counsel);

               h.     In re Pacific Fertility Center Litigation, Case No. 3:18-cv-01586-JSC
(N.D. Cal.) (Interim Co-Lead Counsel);

              i.     In re California Bail Bond Antitrust Litig., 3:19-cv-00717-JST (N.D. Cal.)
(Interim Lead Class Counsel);

                j.     In re Capacitors Antitrust Litigation, No. 3:14-cv-03264 (N.D. Cal.)
(Plaintiffs’ Steering Committee); and

               k.    In re Lithium-Ion Batteries Antitrust Litigation, MDL No. 2420 (N.D.
Cal.) (Interim Co-Lead Counsel; $113.45 million settlement pending).
       27.           Proposed Class Counsel Steven E. Fineman is Lieff Cabraser’s firm-wide

Managing Partner, based in our New York office. In that role for past 13 years, Mr. Fineman has

led the firm to be recognized as one of the country’s top plaintiff-side litigation firms. Mr.

Fineman has 30 years of experience in mass action and financial fraud litigation for plaintiffs in

class, group and individual actions in federal and state courts throughout the country, including

the above-referenced Breast Implants, Diet Drugs, and Deepwater Horizon litigation. Mr.

Fineman has been widely recognized as a leading plaintiff-side litigator, and writes and speaks

frequently on complex litigation. His summary bio is included in Exhibit D.

       28.           I have personally represented individual plaintiffs and plaintiff classes in

financial, consumer, employment, civil rights, human rights, environmental, and tort cases since

my admission to the bar in 1978. I have served as court-appointed counsel in multidistrict


                                                          DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                               -7-                  MOTION FOR PRELIMINARY APPROVAL
                                                                     MDL NO. 2741, CASE NO. 3:16-MD-02741
      Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 9 of 12



litigation since 1981, and in leadership roles in over 50 MDLs and coordinated proceedings. I

have also devoted substantial time to service on the Council of the American Law Institute; the

Advisory Committee for Federal Civil Rules (2010-2017); the American Academy of Arts and

Sciences; teaching complex litigation, class actions, and consumer seminars at Columbia and

Berkeley Law Schools; and as Executive Editor of the ABA Class Actions & Derivative Suits

Committee’s annual “Fifty-State Survey: The Law of Class Action.” My summary bio is

included in Exhibit D.

       29.           My colleagues, proposed Class Counsel James R. Dugan, II, Samuel

Issacharoff, William M. Audet, and TerriAnne Benedetto are highly accomplished attorneys with

ample experience handling complex class actions. William Audet is also proposed Subclass One

Counsel. Proposed Subclass Two Counsel is TerriAnne Benedetto.

       30.           James R. Dugan, II is the founding partner of The Dugan Law Firm, APLC,

and specializes in class action and mass tort litigation. As a result of his demonstrated skill and

experience in class action and mass tort practice, Mr. Dugan has been appointed by the courts to

serve in key leadership positions in a number of significant class actions. Mr. Dugan recently

served a member of the Plaintiffs’ Steering Committee in In Re: National Collegiate Athletic

Association Student-Athlete Concussion Litigation, MDL No. 2492 (N.D. Ill.), which resulted in

a settlement involving $75 million in equitable relief, including a 5-year, $70 million medical

monitoring program. Other high-profile, complex class actions in which Mr. Dugan has been

appointed to leadership roles include: In Re: National Prescription Opiate Litigation, MDL No.

2804 (N.D. Ohio) (PSC, litigation ongoing); In Re: Baycol Products Liability Litigation, MDL

No. 1431 (D. Minn.) (PSC, $1 billion settlement); In Re: Pradaxa (Dabigatran Etexilate)

Products Liability Litigation, MDL No. 2385 (S.D. Ill.) (PSC, $650 million settlement); In Re:

National Football Players’ Concussion Injury, MDL No. 2323 (E.D. Pa.) (PSC, uncapped class

settlement); In Re: Inter-Op Hip Prosthesis Product Liability Litigation, MDL No. 1401 (N.D.

Ohio) (PSC, $1.2 billion settlement). Mr. Dugan’s relevant credentials are attached as Exhibit

E.


                                                          DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                               -8-                  MOTION FOR PRELIMINARY APPROVAL
                                                                     MDL NO. 2741, CASE NO. 3:16-MD-02741
     Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 10 of 12



       31.           Samuel Issacharoff is the Reiss Professor of Constitutional Law at New

York University School of Law and an internationally renowned expert in complex litigation.

He has been a chaired professor at the University of Texas, Columbia University and now at

NYU, and is a Fellow of the American Academy of Arts & Sciences. He has published

extensively on class actions, MDLs, and intricate questions of procedure that come up in those

contexts, including an article co-published with me in the NYU Law Review, The Participatory

Class Action, 92 N.Y.U. L. REV. 846 (2017). Professor Issacharoff regularly appears in courts

in cases involving complex litigation, most frequently as appellate counsel. He was the lead

appellate lawyer for the settlement class in the BP Deepwater Horizon Litigation, in the NFL

Concussion Litigation, and was one of the appellate lawyers in In re Volkswagen ‘Clean Diesel’.

He is currently appellate counsel in the Opioids Litigation, MDL No. 2804, and will argue in

defense of the 2019 certification of a Negotiation Class by Judge Polster. At the district court

level, he has been appointed a Futures Claims Representative in the THAN Asbestos Trust, and

he serves as liaison counsel before Judge Dow in In Re: Dealer Management Systems Antitrust

Litigation, No. 1:18-cv-00864, MDL No. 2917 (N.D. Ill.). Professor Issacharoff’s relevant

credentials and resume are attached as Exhibit F.

       32.           William M. Audet is the founding partner of Audet & Partners, LLP, a San

Francisco based law firm that focuses on complex individual and class actions. Since its

founding in 2007, Audet & Partners has recovered hundreds of millions of dollars and achieved

significant other relief in class action, mass action, and other complex litigation throughout the

United States. In recognition of his experience and dedication to his clients, Mr. Audet has been

appointed to leadership roles in dozens of significant MDLs and other high-profile litigation,

including: In re Zyprexa Product Liability Litigation, MDL No. 1596 (E.D.N.Y.) (Co-Lead

Counsel, Chair of the PEC); In re Bextra/Celebrex Marketing Sales Practices and Product

Liability Litigation, MDL No. 1699 (N.D. Cal.) (PEC); Loretz v. Regal Stone, Ltd., No. 07-cv-

05800-SC (N.D. Cal.) (Co-Lead Counsel); Postier v. Louisiana-Pacific Corp., No. 09-cv- 03290-

JCS, 2013 U.S. Dist. LEXIS 86372 (N.D. Cal.) (Sole Class Counsel); and In re PRK/Lasik


                                                          DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                               -9-                  MOTION FOR PRELIMINARY APPROVAL
                                                                     MDL NO. 2741, CASE NO. 3:16-MD-02741
     Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 11 of 12



Consumer Litigation, Master File No. CV- 772894 (Santa Clara Superior Court) (Lead Counsel).

Mr. Audet’s other experience includes teaching at the University of Wisconsin Law School, and

clerking for the Honorable Fern M. Smith and Alfonso M. Zirpoli. He is also the co-author of a

book entitled “Handling Federal Discovery.” Mr. Audet’s relevant credentials are attached as

Exhibit G.

       33.           TerriAnne Benedetto is an attorney at The Dugan Law Firm, APLC. Ms.

Benedetto has 30 years of experience representing clients in complex civil litigation and class

actions, for whom she has been involved in securing numerous multimillion-dollar verdicts and

settlements. Recently, Ms. Benedetto participated on the negotiating team on behalf of retired

professional football players who developed or became at risk for serious cognitive impairment

and other life-altering conditions, like ALS and Parkinson’s Disease, as a result of years of

concussive and sub-concussive blows to the head, in In re National Football League Players’

Concussion Injury Litigation MDL No. 2323 (E.D. Pa.). She took the lead role on drafting briefs

in federal district and circuit courts on a variety of issues related to court approval and

affirmance of the resulting uncapped NFL Concussion class action settlement, valued at over $1

billion. She also spearheaded the efforts to protect class members from deceptive practices by

certain lenders and others in that case. Ms. Benedetto has been involved in numerous other high-

profile class actions, including In re Volkswagen “Clean Diesel,” MDL No. 2672 (N.D. Cal.); In

re Polyurethane Foam Antitrust Litigation, MDL No. 2196 (N.D. Ohio); In re Lupron Marketing

and Sales Practices Litigation, MDL No. 1430 (D. Mass.); and In re Pharma. Industry Average

Wholesale Price Litigation, MDL No. 1456 (D. Mass.). Ms. Benedetto’s relevant credentials are

attached as Exhibit H.

       34.           The form Escrow Agreement for deposit of Settlement funding is attached

as Exhibit I.

       I declare under penalty of perjury that the forgoing is true and correct.

       Executed this 24th day of June, 2020, in San Francisco, California.




                                                           DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                                               - 10 -                MOTION FOR PRELIMINARY APPROVAL
                                                                      MDL NO. 2741, CASE NO. 3:16-MD-02741
Case 3:16-md-02741-VC Document 11042-1 Filed 06/24/20 Page 12 of 12




                                       /s/ Elizabeth J. Cabraser
                                       Elizabeth J. Cabraser




                                          DECL. OF ELIZABETH J. CABRASER IN SUPPORT OF
                              - 11 -                MOTION FOR PRELIMINARY APPROVAL
                                                     MDL NO. 2741, CASE NO. 3:16-MD-02741
